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Prob 12 (Rev. 11/1/2004)

                             United States District Court
                                                for the
                                   DISTRICT OF MINNESOTA
                              United States v. Michael James Deegan
                              Docket No. 0864 0:13CR00235-001(JRT)
                                   Petition on Supervised Release

        COMES NOW Stephanie M. Thompson, U.S. PROBATION OFFICER OF THE
COURT, presenting an official report upon the conduct and attitude of Michael James Deegan
who was sentenced for Possession of an Unregistered Firearm and Assault Resulting in
Substantial Bodily Injury on April 3, 2014, by the Honorable John R. Tunheim, who fixed the
period of supervision at 3 years supervised release, and imposed the general terms and conditions
theretofore adopted by the Court and also imposed special conditions and terms as follows:

         x        No alcohol; not to enter establishment where alcohol is sold
         x        Participate in drug/alcohol treatment program
         x        Submit to searches
         x        No contact with victim(s)
         x        Employment required
         x        Financial disclosure
         x        No new credit
         x        No firearms or dangerous weapons
         x        Cooperate with child support officials

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:

         STANDARD CONDITION: The defendant shall refrain from excessive use of
         alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances,
         except as prescribed by a physician.

On July 10, 2022, the defendant tested positive for methamphetamine, marijuana and cocaine.
The defendant admitted to taking a pill and using methamphetamine.

PRAYING THAT THE COURT WILL ORDER that conditions of supervision be modified to
include the following:

         -    The defendant shall reside for a period of up to 120 days in a residential
              reentry center as approved by the probation officer and shall observe the rules
              of that facility.



             ORDER OF THE COURT                            I declare under penalty of perjury that
                                                           the foregoing is true and correct.
                              26th
Considered and ordered this __________ day
           CASE 0:13-cr-00235-JRT-LIB Doc. 60 Filed 07/26/22 Page 2 of 2
Petition on Supervised Release                            RE: Michael James Deegan
Page 2                                        Docket No. 0864 0:13CR00235-001(JRT)


      July, 2022
of __________________,    and ordered filed
and made a part of the records in the above    s/ Stephanie   M. Thompson
case.
                                               Stephanie M. Thompson
                                               U.S. Probation Officer
 s/John R. Tunheim                             Telephone: 218-739-0042
Honorable John R. Tunheim                      Executed on    July 18, 2022
U.S. District Judge
                                               Place          Fergus Falls

                                               Approved:

                                               s/ Odell Wilson III
                                               Odell Wilson III
                                               Supervising U.S. Probation Officer
